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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

 

Case No.: CV 19-09309 AB (MRWx) Date: March 17, 2020

 

Title: BackGrid USA, Inc. v. Katheryn Hudson

 

 

Present: The Honorable ANDRE BIROTTE JR., United States District Judge

 

Carla Badirian N/A
Deputy Clerk Court Reporter
Attorney(s) Present for Plaintiff(s): Attorney(s) Present for Defendant(s):
None Appearing None Appearing

Proceedings: [In Chambers] ORDER DENYING MOTION TO DISMISS

Before the Court is Defendant Katheryin Hudson’s (“Defendant”) Motion to
Dismiss (“Motion,” Dkt. No. 16). Plaintiff Backgrid USA, Inc. (“Plaintiff”) filed
an opposition and Defendant filed a reply. The Court heard oral argument on
March 6, 2020. The Motion is DENIED.

Defendant’s Motion argues that the Complaint should be dismissed on
numerous bases. After considering the parties’ arguments, their responses at oral
argument, and the Court’s own legal research, the Court finds that the motion turns

on factual issues that are simply not appropriate for resolution on a motion to
dismiss. The Motion is therefore DENIED.

The Court urges the parties in the strongest possible terms to use their best
efforts to resolve this case instead of incurring additional legal fees and causing the
Court to expend its limited resources on this limited dispute. The parties are
ORDERED to file a Joint Status Report re: Settlement by May 29, 2020.

IT IS SO ORDERED.

CV-90 (12/02) CIVIL MINUTES — GENERAL Initials of Deputy Clerk CB

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